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 EXHIBIT D
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                                                                                  STEVE GRIMES
                                                                                           Partner
                                                                                    (312) 558-8317
                                                                                 SGrimes@winston.com
                                        May 24, 2024

VIA EMAIL

Carl Hittinger
Baker & Hostetler LLP
1735 Market St., Suite 3300
Philadelphia, PA 19103
chittinger@bakerlaw.com

      Re:    Bobrick Washroom Equipment, Inc.’s Sale of Non-Compliant Partitions

Dear Carl:
       As you are aware, during Matt Louchheim’s recent deposition, he was presented with
Intertek testing reports demonstrating that Bobrick’s laminate partitions do not meet ASTM
E84 Class B fire rating standards, as marketed by Bobrick. Mr. Louchheim testified that
Bobrick has not tested these partitions over the past 20 years to determine whether they still
meet that fire rating standard. Mr. Louchheim also acknowledged that there have been
changes to those partitions since the original testing certification.

      Mr. Louchheim testified under oath—as the President of Bobrick—that he would
conduct testing of Bobrick’s incorrectly marketed partitions and, if necessary, update the
materials used in those partitions as well as any mischaracterizations of the fire rating
applicable to Bobrick’s partitions.
      Although our investigation is ongoing, we have reason to believe that Bobrick’s
actions to date have violated state and federal laws. This is an issue that we believe warrants
immediate attention. To that end, as we evaluate our legal options, we request an update on
Matt Louchheim’s efforts to address this troubling situation. Any such information you can
provide will help us evaluate next steps.
       Meanwhile, we demand that you preserve, and do not destroy, any documents or
electronic files in your possession relating or referring to or in any way connected to the fire
rating of Bobrick’s partitions. This demand includes, but is not limited to, any written or
electronic communications (such as emails or instant messages) and hard copy records
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maintained by Bobrick, your office, and/or any individual employed by Bobrick. All such
records must be maintained in their current form, and not be altered or modified in any way.
Bobrick must immediately suspend deletion, overwriting, or any other possible destruction
of electronic information or hard copies of documents. This includes, but is not limited to:
email and other electronic communications; text messages; word processing documents;
documents concerning fire performance testing of toilet partitions conducted by Bobrick or
by a third party; documents reflecting any compensation to any consultant for their work on
behalf of Bobrick in connection with any fire rating code; communications involving
Bobrick or any Bobrick consultant concerning fire rating codes and their applicability to
HDPE partitions; documents mentioning fire rating standards; communications concerning
the accuracy of Bobrick’s fire rating claims, including internal communications concerning
Bobrick’s claim that Bobrick laminate partitions meet ASTM E84, Class B; client files (both
hard copy and network files) for all sales of Bobrick’s partitions, including invoices for the
sale of partitions; any records identifying the ultimate location that Bobrick’s partitions are
installed; accounting and financial records; calendars; telephone logs; contact information;
Internet usage files; offline storage or information stored on removable media; information
contained on laptops or other portable devices; and network access information. You are
prohibited from tampering with or destroying any and all potential evidence (including your
cell phone and personal computers) relevant to this dispute, and Scranton Products reserves
all rights it may have in the event of any violation of the foregoing.
      I understand that you may claim that some materials subject to this legal hold are
protected by a privilege, but that does not preclude your obligation to preserve such
documents. The applicability of any privilege will be determined in due course.
      If you have any questions concerning the above, please contact me.
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                             Respectfully,




                             Steve Grimes
